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                              EXHIBIT 21
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      Detroit IT Equipment

      Qty.      Model                                    Cost      Total Cost / Product
              1 Ubiquiti Unifi Switch Pro 24 POE           $699.00               $699.00
              2 Ubiquiti Unifi Switch Pro 48 POE         $1,099.00              $2,198.00
              1 Ubiquiti SFP+ MM Module (20 Pack)          $360.00               $360.00
             12 Ubiquiti Unifi Long Range Access Point     $109.00              $1,308.00
             18 Dell Optiplex 3070 Micro                   $633.00            $11,394.00
             18 Dell Optiplex Micro All In One Stand       $891.00            $16,038.00
             18 Dell 22” E-Series Monitor                  $135.99              $2,447.82
              2 Dell 24” Professional Services Monitor     $189.99               $379.98
              2 Hikvision 4MP ColorVu Network Camera       $209.00               $418.00
              3 Hikvision 4MP Bullet Network Camera        $220.00               $660.00
              9 Hikvision 4MP Dome Network Camera          $123.00              $1,107.00
              1 Tripplite 2200 VA UPS                      $669.36               $669.36
              1 Tripplite 9U Wall Mount Cabinet            $297.50               $297.50
                                                                                            $37,976.66
